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                               SO ORDERED: January 17, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


    In re:                                                     Chapter 11

                           1                                   Case No. 18-09108-RLM-11
    USA GYMNASTICS,

                                   Debtor.


               ORDER GRANTING DEBTOR’S MOTION FOR ENTRY OF ORDER
                      ESTABLISHING PROCEDURES FOR INTERIM
               COMPENSATION AND REIMBURSEMENT OF PROFESSIONALS

             This matter came before the Court on the Motion for Entry of an Order Establishing

Procedures for Interim Compensation and Reimbursement of Professionals (the “Motion”) filed

by USA Gymnastics, as debtor in possession in the above-captioned chapter 11 case (the



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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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“Debtor”), for an order pursuant to sections 105(a) and 331 of title 11 of the United States Code

(the “Bankruptcy Code”) and Rule B-2014-1(b)(4) and (5) of the Local Rules for the United States

Bankruptcy Court for the Southern District of Indiana (the “Local Rules”), establishing procedures

for interim compensation and reimbursement of professionals in this chapter 11 case; and the Court

finds that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); (iii) the relief requested

in the Motion is in the best interests of the Debtor, its estate, and creditors, and any party in interest;

and after due deliberation, and good and sufficient cause appearing therefore, the Court hereby

determines the Motion should be GRANTED.

        IT IS HEREBY ORDERED:

        1.      The Motion is granted as set forth herein.

        2.      Except as may otherwise be provided in later orders of this Court authorizing the

retention of specific Professionals (as that term is defined in the Motion), all Professionals in

this chapter 11 case may seek interim compensation in accordance with the following procedures

(the “Compensation Procedures”):

                (a)     On or before the twentieth (20th) day of each month following the month
                        for which compensation is sought (the “Monthly Statement Date”), each
                        Professional will submit a detailed monthly invoice (the “Monthly
                        Statement”) to the attention of proposed counsel to the Debtor, Jenner &
                        Block LLP, Attn: Catherine Steege and Melissa Root, csteege@jenner.com
                        and mroot@jenner.com and to the attention of proposed counsel to the
                        Sexual Abuse Survivors’ Committee, Rubin & Levin, P.C., Attn: Meredith
                        Theisen, mtheisen@rubin-levin.net and Pachulski Stang Ziehl & Jones,
                        Attn: James Stang, jstang@pszjlaw.com.

                (b)     Any Professional that fails to submit a Monthly Statement for a particular
                        month may subsequently submit a consolidated Monthly Statement
                        including any prior month or months.

                (c)     A notice of the submission of such a Monthly Statement (the “Notice of
                        Draw”) will be filed with the Clerk and served on (i) the Debtor; (ii) the
                        Debtor’s counsel; (iii) the Office of the United States Trustee; and

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                 (iv) counsel for the Sexual Abuse Survivors’ Committee (collectively, the
                 “Notice Parties”) setting forth the amount of the proposed draw and
                 containing, as an attachment, a copy of the Monthly Statement (redacted as
                 necessary to preserve the attorney-client privilege) supporting the amount
                 of the draw.

           (d)   Parties shall have fourteen (14) days after the filing of each Notice of Draw
                 to review and object to the Monthly Statement. At the expiration of that
                 period, 80% of the fees and 100% of the expenses identified in each
                 Monthly Statement, except specific fees or expenses for which an objection
                 has been interposed by any party as provided in paragraph (8)(f) below, shall
                 be promptly paid by the Debtor.

           (e)   Each member of any appointed official committee is permitted to submit
                 statements of expenses incurred in the performance of the duties of that
                 member’s committee (excluding third-party counsel expenses of individual
                 committee members) with supporting vouchers to committee counsel,
                 which counsel shall collect and submit the committee member’s request for
                 reimbursement in accordance with these Compensation Procedures;
                 provided, however, that approval of these Compensation Procedures does
                 not authorize payment of such expenses to the extent that such payment is
                 not authorized under the Bankruptcy Rules, the Bankruptcy Code, the Local
                 Rules or the practice of this Court.

           (f)   In the event that any party has an objection to the compensation or
                 reimbursement set forth in any Notice of Draw, such party shall serve upon
                 the professional to whose statement the objection is directed a written
                 “Notice of Objection” setting forth the precise nature of the objection and
                 the amount at issue. Thereafter, the objecting party and the Professional to
                 whose Monthly Statement the objection is directed shall attempt to reach an
                 agreement regarding the correct payment to be made. If the parties are
                 unable to reach an agreement on the objection within fourteen (14) days
                 after the date of the Notice of Objection, the objecting party may file its
                 objection and serve it on the Notice Parties and the Court shall consider and
                 dispose of the objection at the next interim fee hearing. Notwithstanding
                 any such objection, the Debtor shall pay promptly the appropriate
                 percentage of fees and disbursements that are not the subject of a notice of
                 objection.

           (g)   The failure by any party to submit a Notice of Objection to a Notice of Draw
                 or Monthly Statement shall not prejudice such party from filing an objection
                 to an interim or final fee application.

           (h)   All interim payments are subject to this Court’s approval as part of the
                 interim and final fee application process. Consistent with Local Rule 2014-
                 1, all fees and expenses drawn are subject to disgorgement until the Court
                 allows the final fee application of the professional.

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               (i)     Approximately every three (3) months, each Professional shall file with the
                       Court, and serve on the Notice Parties an application for approval of
                       compensation and allowance of expenses, pursuant to 11 U.S.C. § 331.

       3.      The Debtor’s counsel shall coordinate with other Professionals retained in this

chapter 11 case to consolidate notices of interim fee applications and hearings thereon to the extent

reasonably practicable.

       4.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       5.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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